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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

TINA MICHELLE BRAUNSTEIN, Civil Case No. 1:16-cv-08879 (VSB)
Plaintiff,
(Electronically Filed Document)
-against-
AFFIDAVIT OF
SAHARA PLAZA, LLC and THE PLAZA KAREN WENGER

HOTEL, a FAIRMONT MANAGED HOTEL, |

Defendants.

 

KAREN WENGER, being duly sworn, deposes and says:

1. I am the Director of Talent and Culture at The Plaza (the “Hotel”), and am
employed by Fairmont Hotels & Resorts (Maryland) LLC. Iam fully familiar with the facts and
circumstances set forth herein. I submit this Affidavit in support of Defendants’ Motion for
Summary Judgment to dismiss the Complaint in its entirety with prejudice.

2. Plaintiff Tina Michelle Braunstein (“Plaintiff” or “Ms. Braunstein”) was employed
by Defendant Sahara Plaza, LLC (“Sahara”) as a Bartender in The Palm Court (the “Restaurant”),
a dining venue located at the Hotel (the “Hotel”), from October 27, 2014 to March 13, 2015.

3. Annexed as “Exhibit A” is a true copy of the job description for the Bartender
position Plaintiff held, bearing Bates Stamp Number P000027. Under the “Requirements” section,
the job description states that a Bartender, among other things, must have “[e]xcellent
communication . . . skills,” “[s]trong interpersonal . . . abilities,” and the “[a]bility to work
cohesively with fellow colleagues as part of a team.”

4. Plaintiffs position was covered under the terms and conditions of a collective

bargaining agreement (“CBA”) between the Hotel & Motel Trades Council (the “Union”), a labor
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organization, and the Hotel Association of New York City, a multi-employer bargaining agent
representing numerous hotels, including the Hotel.

5. The Hotel and the Union also were parties to a separate agreement which modified
the CBA with respect to the operation of the Restaurant (the “Palm Court Agreement”). Annexed
as “Exhibit B” is a true copy of the Palm Court Agreement. Plaintiff was hired during the
Restaurant’s first year of operation. Pursuant to Section 2, paragraph h., of the Palm Court
Agreement, “For the first one (1) year of operation, the probationary period for new hires shall be
one hundred fifty (150) days.” The Hotel had the authority under the CBA to terminate Plaintiff’ s
probationary period employment without affording her the right to contest her termination under
the grievance and arbitration provisions of the CBA.

6. Plaintiff signed an offer of employment letter from Sahara on October 21, 2014
(“Plaintiff's Offer Letter”). Annexed as “Exhibit C” is a true copy of the Offer Letter, bearing
Bates Stamp Numbers P000003 through P000006.

7. On October 23, 2014, four days prior to her official employment commencement
date, Plaintiff signed a Form of Acknowledgment (“Plaintiff's Acknowledgment”) confirming that
she had received and reviewed the Hotel’s Discrimination & Harassment Prevention Policy (the
“Discrimination and Harassment Policy”). Annexed as “Exhibit D” is a true copy of Plaintiff's
Acknowledgment, bearing Bates Stamp Number D000063.

8. Annexed as “Exhibit E” is a true copy of the Discrimination and Harassment Policy,
bearing Bates Stamp Numbers D000060 through D000062.

2. During the period of Plaintiff's employment, Johann Widnersson, who was then the
Beverage Manager, was her direct supervisor. Amin Deroui, the Food and Beverage Manager, also

supervised Plaintiff from time-to-time.
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10. Martin Mariano, then the Hotel’s Director of Food and Beverage, oversaw the
Restaurant’s operation.

11. On approximately the same day as Plaintiffs hire, three other evening Bartenders
were also hired: James Menite, Edwin Marini and Roberto Rosa. All three are male.

12, The Hotel ranked all four bartenders in terms of seniority (length of service) based
on their actual hire dates, in accordance with the terms of the CBA. Mr. Menite was first in
seniority, Plaintiff was second, Mr. Marini was third, and Mr. Rosa was fourth.

13. Annexed as “Exhibit F” is a true copy of an e-mail from Ms. Braunstein to Suzanna
Paradi (“Ms. Paradi’”) entitled “reporting the taylor for inappropriate comments,” dated November
9, 2014; and a true copy of an e-mail response from Ms. Paradi to Ms. Braunstein, cc to Mr. Hunt,
dated November 10, 2014, bearing Bates Stamp Number P000159.

14. Annexed as “Exhibit G” is a true copy of an e-mail from Ms. Braunstein to Mr.
Mariano entitled “complaint of harassment,” dated December 8, 2014; and a true copy of an e-
mail response from Mr. Mariano to Ms. Braunstein, dated December 8, 2014, bearing Bates Stamp
Numbers P000140 through P000141.

15. | Annexed as “Exhibit H” is a true copy of type-written notes entitled “Meeting with
Edmund, December 10, 2014 Re: Incident with Tina Braustein (sic) on Saturday December 6,
2014,” dated December 10, 2014, bearing Bates Stamp Number D000079.

16. + Annexed as “Exhibit I” is a true copy of an e-mail from Johan Widnersson (“Mr.
Widnersson”) to Mr. Hunt, Mr. Mariano, cc to Amin Deroui (“Mr. Deroui”) entitled “TINA
BRAUNSTEIN,” dated December 13, 2014, bearing Bates Stamp Numbers D000101 through

DO000102.
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17. Annexed as “Exhibit J” is a true copy of type-written notes entitled “Meeting with
Tina Braustein [sic] and delegate, James,” dated December 18, 2014, bearing Bates Stamp Number
DO00019.

18. Annexed as “Exhibit K” is a true copy of an e-mail from Ms. Braunstein to Ms.
Paradi entitled “Fwd: Tina Braunstein,” dated December 30, 2014; and a true copy of the e-mail
response from Ms. Paradi to Ms. Braunstein, dated December 30, 2014, bearing Bates Stamp
Number P000134.

19. Annexed as “Exhibit L” is a true copy of Plaintiff's written performance appraisal
dated January 9, 2015, bearing Bates Stamp Number D000018.

20. Annexed as “Exhibit M” is a true copy of an e-mail from Ms. Braunstein to Mr.
Widnersson entitled “request for bullet points 60 day review Tina Braunstein,” dated January 9,
2015, bearing Bates Stamp Number D000097.

21, Annexed as “Exhibit N” is a true copy of an e-mail from Mr, Mariano to Mr. Hunt
entitled “Roberto re: Tina Braunstein,” dated January 10, 2015, bearing Bates Stamp Number
DO000099.

22. Annexed as “Exhibit O” is a true copy of an e-mail from Ms. Braunstein to Mr.
Widnersson, Mr. Mariano, and Ms. Paradi entitled “follow up from 1/9 with Tina Braunstein,”
dated January 12, 2015; and a true copy of the e-mail response from Mr. Mariano to Ms.
Braunstein, cc to Mr. Hunt, dated January 12, 2015, bearing Bates Stamp Numbers D000108
through D000111.

23. Annexed as “Exhibit P” is a true copy of an e-mail from Mr. Mariano to Mr. Hunt

entitled “Tina,” dated January 12, 2015, bearing Bates Stamp Number D000115.
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24. Annexed as “Exhibit Q” is a true copy of an e-mail from Mr, Mariano to Mr. Hunt
entitled “FW: Tina,” dated January 25, 2015, bearing Bates Stamp Number D0001 14.

25. Annexed as “Exhibit R” is a true copy of an e-mail from Ms. Braunstein to Mar.
Mariano entitled “palm court 2/6,” dated February 7, 2015; and a true copy of an e-mail response
from Mr. Mariano to Ms. Braunstein, dated February 19, 2015, bearing Bates Stamp Number
P000170.

26. Annexed as “Exhibit 8” is a true copy of an e-mail from Roberto Rosa (Mr.
Rosa”) to Mr. Deroui entitled “Unacceptable Working Environment,” dated February 19, 2015,
bearing Bates Stamp Numbers D0001 18 through D000119.

27. Annexed as “Exhibit T” is a true copy of an e-mail from Mr. Rosa to Mr. Deroui
entitled “Continued Harassment,” dated February 21, 2015, bearing Bates Stamp Numbers
D000126 through D000127.

28. Plaintiff was terminated effective March 13, 2015, and was told that she had not
successfully completed her 150 day probationary period. At the time of her termination, Plaintiff

had been employed by the Hotel for only 138 days.

 

 

“Karen pe
Sworn to before me this i"

“tel rch, _ cen

“Notary. A

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“HATSUNI KOMIYA-LEE |
| NOTARY PUBLIC, STATE OF NEW YORK
No, 01K.06222804

' QUALIFIED IN NEW YORK COUNTY
COMMISSION EXPIRES OCTOBER &, 2018

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